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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


J.G.G. et al.,                                  Case No. 1:25-cv-00766-JEB

                 Plaintiffs;

LIYANARA SANCHEZ, as next friend
on behalf of FRENGEL REYES MOTA,
et al.,

                 Petitioners–Plaintiffs,

         v.                                     [PROPOSED] ORDER
                                                GRANTING RESPONDENTS–
DONALD J. TRUMP, in his official                DEFENDANTS’ MOTION TO
capacity as President of the United             STAY ORDER PENDING
States, et al.,                                 APPEAL

                 Respondents–Defendants.


         IT IS HEREBY ORDERED that this Court’s order of June 4, 2025, ECF

No. 147, is STAYED until the mandate of the United States Court of Appeals for the

District of Columbia Circuit is sent down in Respondents–Defendants’ appeal of that

order.

Dated:
                                            Hon. James E. Boasberg
                                            Chief Judge, United States District Court
